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                                        ROI-IT, LLC and all others similarly situated
                                   10
                                                                   UNITED STATES DISTRICT COURT
                                   11
                                                                          DISTRICT OF NEVADA
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                                         SARAH SIMMONS, an individual; AARON             Case No.
                                   13    MCALLISTER, an individual; ROI-IT,
                                   14    LLC, a Nevada limited liability company on      CLASS ACTION COMPLAINT
                                         behalf of themselves and all others similarly
                                   15    situated,
                                                                                         JURY TRIAL DEMANDED
                                   16                               Plaintiffs,
                                   17    v.
                                   18
                                         CACHET FINANCIAL SERVICES, a
                                   19    California corporation; FINANCIAL
                                         BUSINESS GROUP HOLDINGS, a
                                   20    California corporation; MYPAYROLLHR
                                         LLC, a Delaware limited liability company;
                                   21
                                         CLOUD PAYROLL, LLC, a Delaware
                                   22    limited liability company; VALUEWISE
                                         CORP., a Delaware corporation; MICHAEL
                                   23    MANN, an individual; NATIONAL
                                         PAYMENT CORPORATION, a Florida
                                   24    corporation,
                                   25
                                                                    Defendants.
                                   26
                                   27   ///
                                   28   ///


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                                    1           For their Class Action Complaint, Plaintiffs Sarah Simmons ("Simmons"), Aaron

                                    2   McAllister ("McAllister"), ROI-IT, LLC ("ROI-IT") (collectively, "Plaintiffs") and all others

                                    3   similarly situated, complain against Defendants Cachet Financial Services ("Cachet"), a

                                    4   California corporation, Financial Business Group Holdings ("FBG"), a California corporation,

                                    5   MyPayrollHR, LLC ("MyPayroll"), a Delaware limited liability company, Cloud Payroll, LLC

                                    6   ("Cloud Payroll"), a Delaware limited liability company, ValueWise, Corp. ("ValueWise"), a

                                    7   Delaware corporation, Michael Mann ("Mann") and National Payment Corporation ("NatPay"), a

                                    8   Florida corporation (collectively, "Defendants", except where NatPay would otherwise be

                                    9   excluded) as follows:

                                   10                                       NATURE OF THE ACTION

                                   11           1.      This is an action arising out of the misappropriation of nearly $35,000,000.00 in
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                                   12   payroll funds and related payroll taxes across the United States by payroll processing firms and
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                                   13   their agents. Defendants have individually and collectively misappropriated funds belonging to

                                   14   both employers and employees who have utilized services provided by the Defendants.

                                   15                                      DEMAND FOR JURY TRIAL

                                   16           2.      Plaintiffs and all others similarly situated demand a jury trial.

                                   17                                              JURISDICTION

                                   18           3.      The claims herein are brought and jurisdiction is conferred upon this Court

                                   19   pursuant to 28 U.S.C. § 1331 as this matter involves claims arising under the laws of the United

                                   20   States and 28 U.S.C. § 1332(d)(2) as this matter is a proposed class action with an amount in

                                   21   controversy exceeding $5,000,000.00, involving members of a class of plaintiffs that are citizens

                                   22   of a State different from any defendant.

                                   23                                                   VENUE

                                   24           4.      Venue is proper in the District of Nevada pursuant to 28 U.S.C. § 1391(b) as a

                                   25   substantial part of the claims arose in this district.

                                   26                                                  PARTIES

                                   27           5.      Simmons is a resident of Clark County, Nevada and is both a majority owner of

                                   28   ROI-IT and employee of ROI-IT.


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                                    1           6.      McAllister is a resident of Clark County, Nevada and is an employee of ROI-IT.

                                    2           7.      ROI-IT is a Nevada limited liability company conducting business in Clark

                                    3   County, Nevada.

                                    4           8.      Plaintiffs as class representatives, meet all requirements of both Fed. R. Civ. P. 23

                                    5   and Nev. R Civ. P. 23. The claims asserted by Plaintiffs on behalf of all those similarly situated

                                    6   meet all requirements of Fed. R. Civ. P. 23 and Nev. R. Civ. P. 23.

                                    7           9.      Pursuant to and as required by Fed. R. Civ. P. 23(a): 1) the class is so numerous

                                    8   that joinder of all members is impracticable; 2) there are questions of law or fact that are common

                                    9   to the class; 3) the claims and defenses of the representative parties are typical of the claims or

                                   10   defenses of the class; and 4) the representative parties will fairly and adequately protect the

                                   11   interest of the class.
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                                   12           10.     Pursuant to and as required by Fed. R. Civ. P. 23(b): 1) prosecuting separate
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                                   13   actions would create a risk of (a) inconsistent or varying adjudications, or (b) adjudications that

                                   14   would be dispositive of other members not parties to the individual adjudications; 2) the party that

                                   15   would be opposing the class acted on grounds that apply generally to the class; or 3) that the court

                                   16   finds that questions of law or fact common to class members predominate.

                                   17           11.     Cachet is a California corporation conducting business across the United States

                                   18   and upon information and belief is a subsidiary of FBG. Cachet is not a bank or banking

                                   19   institution.

                                   20           12.     FBG is a California corporation conducting business across the United States and

                                   21   upon information and belief is the parent company of Cachet. Upon information and belief,

                                   22   Cachet and FBG are alter egos of one another.

                                   23           13.     MyPayroll is a Delaware limited liability company conducting business across the

                                   24   United States and upon information and belief is a subsidiary of both Cloud Payroll and/or

                                   25   ValueWise.

                                   26           14.     Cloud Payroll is a Delaware limited liability company and upon information and

                                   27   belief is a subsidiary of ValueWise.

                                   28           15.     ValueWise is a Delaware corporation conducting business across the United States


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                                    1   and upon information and belief is the parent company of MyPayroll and Cloud Payroll. Upon

                                    2   information and belief, ValueWise, Cloud Payroll and MyPayroll are alter egos of one another.

                                    3          16.        Upon information and belief Mann is a resident of the State of New York. Upon

                                    4   information and belief Mann is the Chief Executive Officer and/or owner of ValueWise. Upon

                                    5   information and belief Mann is also the direct or indirect owner of both MyPayroll and Cloud

                                    6   Payroll. Upon information and belief, Mann is the alter ego of ValueWise, Cloud Payroll and

                                    7   MyPayroll.

                                    8          17.        NatPay is a Florida corporation conducting business across the United States.

                                    9          18.        Upon information and belief and at all relevant times, the Defendants were acting

                                   10   on behalf of one another, at the direction of one another, and as agents of one another relating to

                                   11   the allegations contained herein.
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                                   12                          FACTS COMMON TO ALL CLAIMS FOR RELIEF
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                                   13          19.        Prior to and at the time of the events giving rise to this action, ROI-IT utilized

                                   14   MyPayroll to provide payroll processing services.         MyPayroll utilized Cloud Payroll and/or

                                   15   ValueWise as part of the payroll services provided to ROI-IT.

                                   16          20.        On August 29, 2019, ROI-IT completed its customary company payroll in the

                                   17   amount of $8,759.60, with $6,397.46 representing employee payroll and $2,362.14 representing

                                   18   employer and employee payroll taxes. The $8,756.60 included employee payroll payments to

                                   19   both Simmons and McAllister.

                                   20          21.        In turn, on August 30, 2019, MyPayroll, Cloud Payroll and/or ValueWise deducted

                                   21   $8,756.60 from ROI-IT's bank account.

                                   22          22.        ROI-IT employees Simmons and McAllister, were paid on August 30, 2019 via

                                   23   direct deposit.

                                   24          23.        However, on September 5, 2019, the August 30, 2019 payroll payments to both

                                   25   Simmons and McAllister were withdrawn from their respective personal bank accounts. It was

                                   26   only later determined that the payroll payments were withdrawn by Cachet and/or FBG. Plaintiffs

                                   27   assert that MyPayroll, Cloud Payroll and/or ValueWise contracted with Cachet and/or FBG for

                                   28   purposes of processing electronic payroll fund transfers.


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                                    1           24.     On the same day, ROI-IT and Simmons received an e-mail from MyPayroll

                                    2   identifying that the payroll account used by MyPayroll had been frozen, which prevented it from

                                    3   generating transactions and causing reversals on recent transactions. The e-mail indicated that

                                    4   MyPayroll would be updating its clients as to the situation as more information became available.

                                    5           25.     Later that day, ROI-IT and Simmons received a second e-mail from MyPayroll

                                    6   identifying that it was no longer able to process any further payroll transactions and to find an

                                    7   alterative method for processing payroll. The e-mail identified that employers should be prepared

                                    8   to find an alternative way to pay employees including for any payroll reversals that took place.

                                    9   The e-mail further stated that MyPayroll was working to release any funds that were in transit as a

                                   10   result of the situation.

                                   11           26.     Because Simmons and McAllister had their payroll payments withdrawn from
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                                   12   their personal bank accounts, ROI-IT thereafter issued manual checks to both of them totaling
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                                   13   $6,397.46.

                                   14           27.     Thereafter, on September 6, 2019, and again without any notice, explanation or

                                   15   justification, Cachet and/or FBG withdrew funds from both Simmons and McAllister's personal

                                   16   bank accounts for a second time.

                                   17           28.     On September 6, 2019, ROI-IT and Simmons received a message from MyPayroll

                                   18   through its online portal that identified if any employees' accounts were debited a second time, to

                                   19   advise those employees to contact their respective banks to reject the transaction.

                                   20           29.     Prior to learning that the withdrawals had taken place at the direction of both

                                   21   Cachet and/or FBG, on September 6, 2019, ROI-IT and Simmons sent a demand letter to

                                   22   MyPayroll and Cloud Payroll for the return of all monies that had been improperly taken,

                                   23   including the amounts designated for payroll taxes.

                                   24           30.     Neither MyPayroll nor Cloud Payroll responded to ROI-IT's demand letter.

                                   25           31.     At present, neither ROI-IT, Simmons or McAllister have been repaid all amounts

                                   26   improperly taken from them, and Simmons and McAllister have incurred expenses, fees, costs or

                                   27   other damages relating to the withdrawal of the funds from their personal bank accounts.

                                   28           32.     Before abruptly ceasing its operations without any notice whatsoever, MyPayroll


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                                    1   identified that it served approximately 4,000 employers across the United States.          Those

                                    2   employers, in addition to ROI-IT, also had employee payroll and payroll taxes misappropriated by

                                    3   the Defendants. Pursuant to state and federal law, employers are required to pay employees at

                                    4   certain intervals or on certain dates. Many of the affected employers were left scrambling to find

                                    5   a way to pay their employees following Cachet and/or FBG's reversals.

                                    6          33.    In addition, the approximately 4,000 employers had many more employees who

                                    7   had their payroll misappropriated from their respective bank accounts.          In addition, many

                                    8   employees had their bank accounts debited a second time in the same amount. The withdrawal of

                                    9   these funds forced employees to incur expenses, fees, costs or other damages.

                                   10          34.    After the Defendants' fraudulent and wholly improper conduct received national

                                   11   attention and press, Cachet made a number of public statements in an attempt to explain the
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                                   12   situation and its own conduct. Cachet explained that MyPayroll somehow redirected the August
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                                   13   30, 2019 employee payroll transfers away from a Cachet settlement account to a bank account

                                   14   that it controlled with Pioneer Bank. The Pioneer Bank account was/is controlled by MyPayroll,

                                   15   Cloud Payroll, ValueWise and/or Mann. At present, it is unclear whether Cachet was aware of

                                   16   and/or approved of the transfer. At or around the same time, Cachet made the required employee

                                   17   payroll payments in the approximate amount of $26,000,000.00.

                                   18          35.    Thereafter, Cachet and/or FBG issued banking instructions on or about September

                                   19   4, 2019 directing all employee banks to reverse the August 30, 2019 payroll payments. Cachet

                                   20   and/or FBG allege that those banking instructions included incomplete/improper instructions,

                                   21   although the respective banks complied with the instructions resulting in the withdrawal of the

                                   22   payroll payments. The next day, Cachet and/or FBG issued a second set of banking instructions

                                   23   directing all employee banks to yet again reverse the August 30, 2019 payroll payments. Again,

                                   24   the employee banks complied with the instructions, which resulted in a second withdrawal from

                                   25   employees' bank accounts.

                                   26          36.    Cachet and/or FBG were not entitled to reverse the employee payroll payments

                                   27   issued on August 30, 2019. Nor was Cachet and/or FBG entitled to unilaterally withdraw the

                                   28   payroll payments from employee bank accounts a second time.


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                                    1           37.     Appallingly, Wendy Slavkin, an attorney and General Counsel for Cachet, has

                                    2   publicly stated that "as it stands today . . . the biggest victim, and really the only victim and

                                    3   victims, is Cachet." Obviously, the statement is patently false as thousands of employers and

                                    4   employees have had their businesses and lives uprooted by the misappropriation and fraud of the

                                    5   Defendants and Cachet and/or FBG's wholly improper conduct.

                                    6           38.     Ms. Slavkin was also quoted as stating that all "employees affected by this will in

                                    7   the next day or two have all their money back." As of this filing, all the funds belonging to ROI-

                                    8   IT, Simmons and McAllister have not been returned and Plaintiffs believe the same is true for the

                                    9   other employers and employees nationwide.

                                   10           39.     As a result, countless instances of employers and employees' financial hardship

                                   11   have been reported. For instance, many have complained of being incapable of making mortgage
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                                   12   or rent payments. A multitude of others have been hit with various account fees after the reversal
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                                   13   of payroll payments left their bank accounts with negative balances. Others have described

                                   14   difficulties maintaining their quality of life, as they are unable to feed their families, pay their

                                   15   bills, or purchase gas to make it to and from work. Put simply, the effect of Defendants' fraud and

                                   16   Cachet and/or FGB's conduct has rippled nationwide, putting many of those affected in precarious

                                   17   financial situations as a result.

                                   18           40.     Plaintiffs also assert that MyPayroll, Cloud Payroll and/or ValueWise contracted

                                   19   with NatPay for purposes of handling employers' tax withholdings. Therefore, NatPay, not

                                   20   Cachet and/or FBG, was apparently responsible for the payment of payroll tax payments for

                                   21   MyPayroll. The payroll tax liability for the payroll at issue has been identified at approximately

                                   22   $9,000,000.00. A portion of that $9,000,000.00 included employer and employee payroll tax due

                                   23   to various government entities from ROI-IT, Simmons and McAllister.

                                   24           41.     At present, it is unclear where the $9,000,000.00 has gone and whether NatPay has

                                   25   paid the required employer/employee payroll taxes. As such, NatPay is included as a defendant in

                                   26   this case at present only as to Plaintiffs' claims for declaratory and injunctive relief. Plaintiffs

                                   27   shall amend this Complaint to the extent that additional facts and claims against NatPay become

                                   28   warranted and/or necessary.


                                                                                     7
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                                    1                                          PROPOSED CLASSES

                                    2           42.     As set forth herein, nearly 4,000 employers relied on MyPayroll's services.

                                    3   However, in addition to the aforementioned employers, thousands of employees have been

                                    4   impacted by the conduct of the Defendants. The employers and employees affected span the

                                    5   entire United States and are not just limited to the State of Nevada.

                                    6           43.     Based upon the foregoing, those affected by Defendants' inappropriate and

                                    7   unlawful activities are best categorized into at least two classes:

                                    8                   a.      The first proposed class includes all employers across the United States,

                                    9   who have been impacted and damaged by the Defendants' conduct.

                                   10                   b.      The second proposed class includes all employees, who are undoubtedly in

                                   11   the tens of thousands, who have been impacted and damaged by the Defendants' conduct. 1
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                                   12                                  FIRST CAUSE OF ACTION
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                                                        (Federal RICO Violation – As to All Defendants Except NatPay)
    Las Vegas, Nevada 89145




                                   13
                                                44.     Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   14
                                        Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   15
                                                45.     Plaintiffs and all others similarly situated bring this claim against Defendants
                                   16
                                        pursuant to the Racketeer Influenced and Corrupt Organizations Act ("RICO"), 18 U.S.C. §§
                                   17
                                        1961-1968.
                                   18
                                                46.     Section 1962 of RICO makes it unlawful for "any person employed by or
                                   19
                                        associated with any enterprise engaged in, or the activities which affect, interstate or foreign
                                   20
                                        commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's
                                   21
                                        affairs through a pattern of racketeering activity or collection of unlawful debt." 18 U.S.C. §
                                   22
                                        1962(c).
                                   23
                                                47.     Pursuant to Section 1961 of RICO, a racketeering activity may include bank fraud
                                   24
                                        as defined by 18 U.S.C. § 1344 as the execution, attempt or scheme to "obtain any of the moneys,
                                   25
                                        funds, credits, assets, securities or other property owned by, or under the custody or control of, a
                                   26
                                   27
                                        1
                                         It may also be appropriate to have Nevada-specific subclasses in this matter based on the causes of action
                                   28   asserted herein.


                                                                                        8
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                                    1   financial institution, by means of false or fraudulent pretenses, representations, or promises[.]" 18

                                    2   U.S.C. § 1344(2).

                                    3          48.     MyPayroll, Cloud Payroll, ValueWise and Mann violated 18 U.S.C. § 1344(2) by

                                    4   fraudulently rerouting employer payroll funds to a Pioneer Bank account they controlled.

                                    5          49.     Cachet and FBG also violated 18 U.S.C. § 1344(2) by illegally withdrawing

                                    6   deposited payroll funds from employee bank accounts without any notice or authorization to do

                                    7   so.

                                    8          50.     Moreover, pursuant to Section 1961 of RICO, a racketeering activity may also

                                    9   include wire fraud as defined by 18 U.S.C. § 1343 as when persons "having devised or intended

                                   10   to devise any scheme or artifice to defraud, or for obtaining money or property by means of false

                                   11   or fraudulent pretenses, representations, or promises, transmits or causes to be transmitted by
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                                   12   means of wire, radio, or television communication in interstate or foreign commerce, any
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                                   13   writings, signs, signals, pictures, or sounds for the purpose of executing such scheme or artifice,

                                   14   shall be fined under this title or imprisoned not more than 20 years, or both." 18 U.S.C. § 1343.

                                   15          51.     MyPayroll, Cloud Payroll, ValueWise and Mann violated 18 U.S.C. § 1343 by

                                   16   transmitting fraudulent instructions to reroute employers' payroll funds to a Pioneer Bank account

                                   17   they controlled.

                                   18          52.     Cachet and FBG also violated 18 U.S.C. § 1343 by transmitting reversals to

                                   19   employee banks and illegally withdrawing deposited payroll funds from employee bank accounts.

                                   20          53.     Cachet operates as an automated clearing house, not a bank. Therefore, Cachet

                                   21   was not authorized to reverse the payroll payments it made into employee bank accounts or

                                   22   withdraw additional monies from those bank accounts.

                                   23          54.     As a result of Defendants' actions, Plaintiffs and all others similarly situated have

                                   24   been damaged in an amount that exceeds $5,000,000.00, exclusive of interest and costs, and are

                                   25   entitled to any and all statutory damages.

                                   26          55.     Plaintiffs and all others similarly situated have been forced to retain counsel to

                                   27   prosecute this action and are entitled to recover reasonable attorney's fees and costs.

                                   28   ///


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                                    1                                   SECOND CAUSE OF ACTION
                                                                 (Fraudulent or Intentional Misrepresentation –
                                    2                                 As to All Defendants Except NatPay)
                                    3            56.    Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                    4    Complaint and incorporate the same herein by reference as though fully set forth herein.
                                    5            57.    Defendants intentionally and falsely represented that they would properly
                                    6    distribute payroll funds from employer bank accounts to employee bank accounts through secure
                                    7    and trustworthy channels.
                                    8            58.    Defendants    intentionally   and    falsely   represented   that   they   would   not
                                    9    misappropriate or misuse the payroll funds belonging to both employers and employees.
                                   10            59.    Plaintiffs and all others similarly situated relied on these representations in
                                   11    deciding to utilize Defendants' services and/or in allowing for the transfer of payroll funds from
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                                   12
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                                         employer to employee bank accounts by means of the Defendants' services.
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                                   13            60.    As a result of Defendants' actions and/or inactions, Plaintiffs and all others
                                   14    similarly situated are entitled to damages in excess of $5,000,000.00, exclusive of costs and
                                   15    interest.
                                   16            61.    As a result of Defendants' actions and/or inactions, Plaintiffs and all others
                                   17    similarly situated have been forced to retain counsel to prosecute this action and are entitled to
                                   18    recover reasonable attorney's fees and costs.
                                   19            62.    Plaintiffs and all others similarly situated are informed and believe and thereon
                                   20    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious
                                   21    disregard of Plaintiffs' rights and those of all others similarly situated.        As a direct result,
                                   22    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.
                                   23                                    THIRD CAUSE OF ACTION
                                                               (Conversion – As to All Defendants Except NatPay)
                                   24
                                   25            63.    Plaintiffs repeat and reallege each and every fact and allegation contained in this

                                   26    Complaint and incorporate the same herein by reference as though fully set forth herein.

                                   27            64.    By unlawfully taking approximately $35,000,000.00 of payroll funds and related

                                   28    payroll taxes, Defendants wrongfully exerted an act of dominion and control over the personal


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                                    1    property of Plaintiffs and all others similarly situated.

                                    2            65.     Defendants have exercised this dominion and control in derogation, exclusion and

                                    3    defiance of the rights of Plaintiffs and all others similarly situated.

                                    4            66.     As a result, Plaintiffs and all others similarly situated have been damaged in an

                                    5    amount that exceeds $5,000,000.00, exclusive of costs and interest.

                                    6            67.     Plaintiffs and all others similarly situated have been forced to retain counsel to

                                    7    prosecute this action and are entitled to recover reasonable attorney's fees and costs.

                                    8            68.     Plaintiffs and all others similarly situated are informed and believe and thereon

                                    9    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious

                                   10    disregard of Plaintiffs' rights and those of all others similarly situated.       As a direct result,

                                   11    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.
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                                   12                                   FOURTH CAUSE OF ACTION
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                                                           (Unjust Enrichment – As to All Defendants Except NatPay)
    Las Vegas, Nevada 89145




                                   13
                                                 69.     Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   14
                                         Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   15
                                                 70.     Plaintiffs and all others similarly situated conferred a benefit on Defendants by
                                   16
                                         utilizing their services and entrusting them to properly process and distribute their payroll funds.
                                   17
                                                 71.     Defendants have unjustly retained approximately $35,000,000.00 of payroll funds
                                   18
                                         and/or related payroll taxes belonging to Plaintiffs and all others similarly situated.
                                   19
                                                 72.     As a result, Plaintiffs and all others similarly situated have been damaged in an
                                   20
                                         amount that exceeds $5,000,000.00, exclusive of costs and interest.
                                   21
                                                 73.     Plaintiffs and all others similarly situated have been forced to retain counsel to
                                   22
                                         prosecute this action and are entitled to recover reasonable attorney's fees and costs.
                                   23
                                                                          FIFTH CAUSE OF ACTION
                                   24                               (Intentional Interference with Contractual
                                   25                            Relations – As to All Defendants Except NatPay)

                                   26            74.     Plaintiffs repeat and reallege each and every fact and allegation contained in this

                                   27    Complaint and incorporate the same herein by reference as though fully set forth herein.

                                   28            75.     There exists a valid legal and contractual relationship between employers and


                                                                                       11
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                                    1    employees. Employees are compensated for their work, by which employers derive a financial

                                    2    benefit.

                                    3             76.   Defendants knew of the existing valid legal and contractual relationship between

                                    4    such employers and employees.

                                    5             77.   Defendants intentionally disrupted this legal and contractual relationship by either

                                    6    misappropriating employer payroll funds and/or improperly withdrawing payroll funds that were

                                    7    rightfully owed to employees.

                                    8             78.   Defendants' actions and/or inactions disrupted this valid legal and contractual

                                    9    relationship by leaving employees unpaid for their services and by misappropriating employer

                                   10    payroll and tax funds.

                                   11             79.   As a result of Defendants' actions and/or inactions, Plaintiffs and all others
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                                   12    similarly situated are entitled to damages in excess of $5,000,000.00, exclusive of interest and
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                                   13    costs.

                                   14             80.   Plaintiffs and all others similarly situated have been forced to retain counsel to

                                   15    prosecute this action and are entitled to recover reasonable attorney's fees and costs.

                                   16             81.   Plaintiffs and all others similarly situated are informed and believe and thereon

                                   17    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious

                                   18    disregard of Plaintiffs' rights and those of all others similarly situated.      As a direct result,

                                   19    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.

                                   20                                      SIXTH CAUSE OF ACTION
                                                                     (Negligent Interference with Contractual
                                   21                             Relations – As to All Defendants Except NatPay)
                                   22             82.   Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   23    Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   24             83.   There exists a valid legal and contractual relationship between employers and
                                   25    employees. Employees are compensated for their work, by which employers derive a financial
                                   26    benefit.
                                   27             84.   Defendants knew or should have known of the existence of a valid legal and
                                   28


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                                    1    contractual relationship between such employers and employees, and were aware, or should have

                                    2    been aware, that their failure to act with due care would interfere with the valid legal and

                                    3    contractual relationship between them.

                                    4             85.   Defendants owed Plaintiffs and all others similarly situated a duty to ensure that

                                    5    that such employees received all employer payroll funds and that the employer payroll funds and

                                    6    payroll taxes were handled with due care.

                                    7             86.   Defendants failure to properly deposit all payroll funds into employee bank

                                    8    accounts constituted a breach of Defendants' duty to Plaintiffs and all others similarly situated.

                                    9             87.    As a result of Defendants' breach, the valid legal and contractual relationship

                                   10    between employers and employees was disrupted.

                                   11             88.   As a result of Defendants' actions and/or inactions, Plaintiffs and all others
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                                   12    similarly situated are entitled to damages in excess of $5,000,000.00, exclusive of interest and
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                                   13    costs.

                                   14             89.   Plaintiffs and all others similarly situated have been forced to retain to prosecute

                                   15    this action and are entitled to recover reasonable attorney's fees and costs.

                                   16             90.   Plaintiffs and all others similarly situated are informed and believe and thereon

                                   17    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious

                                   18    disregard of Plaintiffs' rights and those of all others similarly situated.      As a direct result,

                                   19    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.

                                   20                                    SEVENTH CAUSE OF ACTION
                                                               (Intentional Interference with Prospective Economic
                                   21                           Advantage – As to All Defendants Except NatPay)
                                   22             91.   Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   23    Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   24             92.   There exist ongoing prospective contractual relationships between employers,
                                   25    employees and third-parties.
                                   26             93.    Defendants knew of these prospective contractual relationships.
                                   27             94.   Defendants intentionally interfered with these prospective contractual relationships
                                   28


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                                    1    by misappropriating employer and employee payroll funds and payroll taxes.

                                    2           95.     Defendants' interference was wholly improper and resulted in actual harm to both

                                    3    employers and employees and their prospective contractual relationships.

                                    4           96.     As a result of Defendants' actions, Plaintiffs and all others similarly situated are

                                    5    entitled to damages in excess of $5,000,000.00, exclusive of interest and costs.

                                    6           97.     Plaintiffs and all others similarly situated have been forced to retain counsel to

                                    7    prosecute this action and are entitled to recover reasonable attorney's fees and costs.

                                    8           98.     Plaintiffs and all others similarly situated are informed and believe and thereon

                                    9    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious

                                   10    disregard of Plaintiffs' rights and those of all others similarly situated.        As a direct result,

                                   11    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.
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                                   12                                   EIGHTH CAUSE OF ACTION
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                                                               (Negligent Interference with Prospective Economic
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                                   13                           Advantage – As to All Defendants Except NatPay)
                                   14           99.     Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   15    Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   16           100.    There exist ongoing prospective contractual relationships between employers,
                                   17    employees and third-parties.
                                   18           101.    Defendants knew or should have known of the existence of these prospective
                                   19    contractual relationships.
                                   20           102.    Defendants owed Plaintiffs and all others similarly situated a duty not to interfere
                                   21    with these prospective contractual relationships.
                                   22           103.    Defendants interfered with these prospective contractual relationships by
                                   23    misappropriating employer and employee payroll funds and payroll taxes.
                                   24           104.    Defendants' interference was wholly improper and resulted in actual harm to both
                                   25    employers and employees and their prospective contractual relationships.
                                   26
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                                    1           105.    As a result of Defendants' actions, Plaintiffs and all others similarly situated are

                                    2    entitled to damages in excess of $5,000,000.00, exclusive of interest and costs.

                                    3           106.    Plaintiffs and all others similarly situated have been forced to retain counsel to

                                    4    prosecute this action and are entitled to recover reasonable attorney's fees and costs.

                                    5           107.    Plaintiffs and all others similarly situated are informed and believe and thereon

                                    6    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious

                                    7    disregard of Plaintiffs' rights and those of all others similarly situated.        As a direct result,

                                    8    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.

                                    9                                    NINTH CAUSE OF ACTION
                                                               (Negligence – As to All Defendants Except NatPay)
                                   10
                                                108.    Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   11
                                         Complaint and incorporate the same herein by reference as though fully set forth herein.
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                                                109.    Defendants owed Plaintiffs and all others similarly situated a duty of care as
                                   13
                                         described herein.
                                   14
                                                110.    Defendants breached that duty by either misappropriating payroll funds and
                                   15
                                         payroll taxes, or by improperly withdrawing payroll funds from employee bank accounts.
                                   16
                                                111.    Plaintiffs and all others similarly situated have been damaged in an amount that
                                   17
                                         exceeds $5,000,000.00, exclusive of interest and costs.
                                   18
                                                112.     Plaintiffs and all others similarly situated have been forced to retain counsel to
                                   19
                                         prosecute this action and are entitled to recover reasonable attorney's fees and costs.
                                   20
                                                113.    Plaintiffs and all others similarly situated are informed and believe and thereon
                                   21
                                         allege that Defendants' conduct was willful, wanton and malicious and was done in conscious
                                   22
                                         disregard of Plaintiffs' rights and those of all others similarly situated.        As a direct result,
                                   23
                                         Plaintiffs and all others similarly situated are entitled to an award of punitive damages.
                                   24
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                                    1                                       TENTH CAUSE OF ACTION
                                                                      (Declaratory Relief – As to All Defendants)
                                    2
                                                114.    Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                    3
                                         Complaint and incorporate the same herein by reference as though fully set forth herein.
                                    4
                                                115.    A justiciable controversy has arisen as to who is entitled to the approximately
                                    5
                                         $35,000,000.00 of misappropriated payroll funds and payroll taxes.
                                    6
                                                116.    A judicial declaration of the parties' rights is necessary to avoid any further dispute
                                    7
                                         between the parties and all others similarly situated related to the issues set forth herein.
                                    8
                                                117.    As a result of Defendants' actions, Plaintiffs and all others similarly situated have
                                    9
                                         been forced to retain counsel to prosecute this action and are entitled to recover reasonable
                                   10
                                         attorney's fees and costs.
                                   11
                                                                         ELEVENTH CAUSE OF ACTION
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                                                                      (Injunctive Relief – As to All Defendants)
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                                   13
                                                118.    Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                   14
                                         Complaint and incorporate the same herein by reference as though fully set forth herein.
                                   15
                                                119.    As a result of Defendants' conduct, employer and employee funds have been
                                   16
                                         fraudulently misappropriated.
                                   17
                                                120.    Based upon the principles of equity, Plaintiffs and all others similarly situated are
                                   18
                                         entitled to the return of any and all funds that were either misappropriated or improperly
                                   19
                                         withdrawn from their bank accounts.
                                   20
                                                121.    It is in the public's interest to mandate the immediate return of all stolen funds that
                                   21
                                         are rightfully owed to Plaintiffs and all others similarly situated.
                                   22
                                                122.    With regard to the tax payments, it is in the public's interest to mandate that
                                   23
                                         NatPay and/or the other Defendants immediately make all required tax payments on behalf of
                                   24
                                         both employers and employees.
                                   25
                                                123.    As a result of Defendants' actions, Plaintiffs and all others similarly situated have
                                   26
                                         been forced to retain counsel to prosecute this action and are entitled to recover reasonable
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                                         attorney's fees and costs.
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                                    1                                    TWELFTH CAUSE OF ACTION
                                                                        (Nevada Deceptive Trade Practices –
                                    2                                   As to All Defendants Except NatPay)
                                    3           124.      Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                    4    Complaint and incorporate the same herein by reference as though fully set forth herein.
                                    5           125.      This Nevada statutory claim applies specifically to Plaintiffs individually and any
                                    6    other Nevada-based employer and employee.
                                    7           126.      On behalf of Plaintiffs and all others similarly situated, Defendants engaged in a
                                    8    deceptive trade practice pursuant to Nev. Rev. Stat. Ch. 598 by improperly diverting payroll funds
                                    9    and tax payments for their personal use and by withdrawing payroll funds and other amounts from
                                   10    employee bank accounts, which the Defendants had no right to do.
                                   11           127.      Defendants' conduct constitutes a deceptive trade practice pursuant to Nev. Rev.
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                                         Stat. Ch. 598.
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                                   13           128.      By way of example only, Defendants engaged in a deceptive trade practice by
                                   14    among other things, "[k]nowingly mak[ing] [a] false representation in a transaction."            NRS
                                   15    598.092(15).
                                   16           129.      In addition, Defendants deliberately and purposefully failed to notify Plaintiffs and
                                   17    all others similarly situated that amounts would be withdrawn from employee bank accounts. This
                                   18    constituted a deceptive trade practice pursuant to Nev. Rev. Stat. Ch. 598.
                                   19           130.      As a result of Defendants' actions and/or inactions, Plaintiffs and all others
                                   20    similarly situated are entitled to damages in excess of $5,000,000.00, exclusive of interest and
                                   21    costs, as well as any and all statutory damages.
                                   22           131.      Plaintiffs and all others similarly situated have been forced to retain counsel to
                                   23    prosecute this action and are entitled to recover reasonable attorney's fees and costs.
                                   24           132.      Plaintiffs and all others similarly situated are informed and believe and thereon
                                   25    allege that Defendants' conduct was willful, wanton and malicious and was done in conscious
                                   26    disregard of Plaintiffs' rights and those of all others similarly situated.       As a direct result,
                                   27    Plaintiffs and all others similarly situated are entitled to an award of punitive damages.
                                   28


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                                    1                              THIRTEENTH CAUSE OF ACTION
                                                        (Nevada RICO Violation – As to All Defendants Except NatPay)
                                    2
                                                133.    Plaintiffs repeat and reallege each and every fact and allegation contained in this
                                    3
                                         Complaint and incorporate the same herein by reference as though fully set forth herein.
                                    4
                                                134.    Plaintiffs and all others similarly situated bring this claim against Defendants
                                    5
                                         pursuant to the Racketeering Act, NRS 207.350-520.
                                    6
                                                135.     This Nevada statutory claim applies specifically to Plaintiffs individually and any
                                    7
                                         other Nevada-based employer and employee.
                                    8
                                                136.    Section 207.400 of the Racketeering Act makes it unlawful for a person "[w]ho is
                                    9
                                         employed by or associated with any enterprise to conduct or participate, directly or indirectly, in .
                                   10
                                         . . racketeering activity through the affairs of the enterprise." NRS 207.400(1)(c)(2).
                                   11
                                                137.    Section 207.400 of the Racketeering Act also makes it unlawful "for a person to
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                                         conspire to violate any of the provisions" of the Racketeering Act. NRS 207.400(1)(j).
                                   13
                                                138.    In accordance with 207.360, a crime related to racketeering may include
                                   14
                                         "[e]mbezzlement of money or property valued at $650 or more [and] obtaining possession of
                                   15
                                         money or property valued at $650 or more." NRS 207.360(27)-(28).
                                   16
                                                139.    Defendants embezzled $35,000,000.00 in employer payroll funds and related
                                   17
                                         payroll taxes, which constitutes a clear violation of NRS 207.400(1)(c)(2).
                                   18
                                                140.    As a result of Defendants' actions, Plaintiffs and all others similarly situated have
                                   19
                                         been damaged in an amount that exceeds $5,000,000.00, exclusive of interest and costs and are
                                   20
                                         entitled to any and all statutory damages.
                                   21
                                                141.    Plaintiffs and all others similarly situated have been forced to retain counsel to
                                   22
                                         prosecute this action and are entitled to recover reasonable attorney's fees and costs.
                                   23
                                                WHEREFORE, Plaintiffs and all others similarly situated pray for judgment as follows:
                                   24
                                                A.      For damages in an amount to be determined at trial, but in excess of
                                   25
                                                        $5,000,000.00;
                                   26
                                                B.      For exemplary or punitive damages;
                                   27
                                                C.      For any and all statutory damages;
                                   28


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                                    1          C.    Attorney's fees and costs of suit;

                                    2          E.    Prejudgment and post-judgment interest on the amounts owed;

                                    3          F.    For declaratory relief as set forth above;

                                    4          G.    For injunctive relief as set forth above; and

                                    5          H.    Any further relief this Court deems proper.

                                    6          DATED this 16th day of September, 2019

                                    7
                                                                                    SEMENZA KIRCHER RICKARD
                                    8
                                    9
                                                                                    /s/ Lawrence J. Semenza, III
                                   10                                               Lawrence J. Semenza, III, Esq., Bar No. 7174
                                                                                    Christopher D. Kircher, Esq., Bar No. 11176
                                   11                                               Jarrod L. Rickard, Esq., Bar No. 10203
                                                                                    Katie L. Cannata, Esq. Bar No. 14848
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                                   14                                               Attorneys for Plaintiffs Sarah Simmons, Aaron Mc
                                                                                    Allister, ROI-IT, LLC and all others similarly
                                   15                                               situated
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